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                                 UNITED STATES DISTRICT COURT

                                 EASTERN DISTRICT OF CALIFORNIA




 UNITED STATES OF AMERICA,                                     No. 1:12-cr-00292 DAD

                    Plaintiff,
                                                               DETENTION ORDER
         v.                                                    (Violation of Supervised Release)

 MAYO MARTINEZ MURILLO,

                    Defendant.



       The defendant having been arrested for alleged violation(s) of the terms and conditions of
supervised release; and
       Having conducted a detention hearing pursuant to Federal Rule of Criminal Procedure 32.l(a)(6)
and 18 U.S.C. § 3143(a), the Court orders the above-named defendant detained and finds that:
         The defendant has not met defendant’s burden of establishing by clear and convincing
evidence that defendant is not likely to flee; and/or

          The defendant has not met defendant’s burden of establishing by clear and convincing
evidence that defendant is not likely to pose a danger to the safety of any other person or the community
if released under 18 U.S.C. § 3142(b) or (c).
        This finding is based on the reasons stated on the record.


IT IS SO ORDERED.

   Dated:     June 20, 2018                                  /s/ Sheila K. Oberto
                                                   UNITED STATES MAGISTRATE JUDGE
